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                            UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF NEW YORK

 JOEL RICH AND MARY RICH,

                 Plaintiffs,

 v.                                                     Civil Action No. 1:18-cv-02223 (GBD)
 FOX NEWS NETWORK, LLC, MALIA                           ORAL ARGUMENT REQUESTED
 ZIMMERMAN, AND ED BUTOWSKY,

                 Defendants.


        NOTICE OF DEFENDANTS FOX NEWS NETWORK, LLC, AND MALIA
        ZIMMERMAN’S MOTION TO DISMISS THE AMENDED COMPLAINT
                     FOR FAILURE TO STATE A CLAIM

       PLEASE TAKE NOTICE that upon the accompanying Memorandum of Law, the

Declaration of Joseph M. Terry, and the exhibits annexed thereto, defendants Fox News Network,

LLC, and Malia Zimmerman, by and through the undersigned counsel, will move this Court,

before the Honorable George B. Daniels, United States District Judge, in Courtroom 11A at the

United States Courthouse for the Southern District of New York, 500 Pearl Street, New York, NY

10007, on such day and at such time designated by the Court, for an Order dismissing certain

claims in the amended complaint pursuant to Rule 12(b)(6) of the Federal Rules of Civil Procedure

for failure to state a claim upon which relief can be granted.

                                                      Respectfully submitted,

                                                      /s/ Joseph M. Terry

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                                                      Joseph M. Terry (pro hac vice)
                                                      Stephen J. Fuzesi
                                                      Katherine Moran Meeks (pro hac vice)
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DATED: January 31, 2020




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                                CERTIFICATE OF SERVICE

       I hereby certify that on January 31, 2020, I electronically filed the foregoing Notice of

Motion to Dismiss the Amended Complaint for Failure to State a Claim with the Clerk of the

Court using the CM/ECF system, which will send notification of such filing to all counsel of

record in this matter who are on the CM/ECF system.


                                                                    s/ Joseph M. Terry
                                                                    Joseph M. Terry




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